         Case 1:21-mj-00612-GMH Document 1-1 Filed 09/23/21 Page 1 of 8




                                   STATEMENT OF FACTS

        Your affiant is a Special Agent with the Federal Bureau of Investigation (FBI) and I am
currently assigned to the FBI’s Miami Field Office. Currently, I am tasked with investigating
criminal activity in and around the Capitol grounds on January 6, 2021. As a Special Agent, I am
authorized by law or by a Government agency to engage in or supervise the prevention, detention,
investigation, or prosecution of violations of Federal criminal laws.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

       On January 6, 2021, a joint session of the U.S. Congress convened at the U.S. Capitol,
which is located at First Street, SE, in Washington, D.C. During the joint session, elected members
of the United States House of Representatives and the United States Senate were meeting in
separate chambers of the United States Capitol to certify the vote count of the Electoral College of
the 2020 Presidential Election, which had taken place on November 3, 2020. The joint session
began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the House and
Senate adjourned to separate chambers to resolve a particular objection. Vice President Mike
Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

       At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, shortly around
2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking
windows and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged
and assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

       During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
         Case 1:21-mj-00612-GMH Document 1-1 Filed 09/23/21 Page 2 of 8




violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

                   Evidence Linking ROMERO to Assault on the U.S. Capitol

        On or about January 7, 2021, the FBI received an anonymous tip claiming that MOISES
ROMERO had been present inside the Capitol Building during the January 6 riots. The tip stated
that ROMERO was a former classmate of the tipster’s spouse, and that ROMERO was the owner
of an Instagram account with the name “momovsworld” which the tipster believed had since been
deleted.

        Also on or about January 7, 2021, law enforcement received a tip from an individual
(“Person -1”) which included a recording of an Instagram video. Person-1 stated that the recorded
video showed MOISES ROMERO, with whom Person-1 went to high school, participating in the
events at the Capitol on January 6. The recorded video was an Instagram video from user
“momovsworld” and showed the user present outside as well as inside the Capitol Building during
the January 6 riots. At times, the user pointed the camera towards himself, showing his face
clearly, and showing that he was wearing a black hoodie, a gray and black backpack, a respirator,
and fingerless gloves. Below are two screenshots from the video.




       At one point in the video, as shown in the screenshot below, the user added the text “Right
before stormed in” to the video. Note that the individual in foreground of the screenshot below
does not appear to be the user, but rather someone standing in front of the user.
        Case 1:21-mj-00612-GMH Document 1-1 Filed 09/23/21 Page 3 of 8




       On or about January 9, 2021, law enforcement received an anonymous tip attaching the
same Instagram video provided by Person-1. According to the anonymous tip, the individual in
the video was MOISES ROMERO who worked as a nurse in Florida.

        Records from Instagram confirmed that the user of the “momovsworld” Instagram account
is MOISES ROMERO. In connection with the account, ROMERO provided Instagram with a
telephone number ending in -1111. Records obtained from AT&T confirmed that the subscriber
for the telephone number ending in -1111 is MOISES ROMERO at an address in Florida.

        According to records obtained through a search warrant which was served on AT&T, on
January 6, 2021, in and around the time of the incident, the cellphone associated with the phone
number ending in -1111. was identified as having utilized a cell site consistent with providing
service to a geographic area that includes the interior of the United States Capitol building.

       According to video footage, ROMERO entered the Capitol Building at approximately 2:47
p.m. on January 6, 2021, through the doors on the Senate side of the building. Prior to his entry,
the doors were guarded by law enforcement officers, who monitored the three entryways, as
depicted below:
        Case 1:21-mj-00612-GMH Document 1-1 Filed 09/23/21 Page 4 of 8




       At approximately 2:47 pm, rioters aggressively pushed a podium placed in the middle
doorway, which had acted as a barrier between the law enforcement officers and the rioters, against
the law enforcement officers. As depicted below, the law enforcement officers struggled to push
back against the crowd of rioters:




        During the push, which lasted for approximately 1 minute and 20 seconds, video footage
depicted rioters punching law enforcement officers, throwing objects at law enforcement officers,
and attempting to hit law enforcement officers with a flagpole.

        As seen below, highlighted in red, ROMERO was near the front of the line of rioters,
participating in the push against law enforcement officers:
        Case 1:21-mj-00612-GMH Document 1-1 Filed 09/23/21 Page 5 of 8




        As seen below, highlighted in red, as the pushing continued, ROMERO pressed his gloved
right hand to the wall to assist in his efforts to get inside the Capitol Building.
        Case 1:21-mj-00612-GMH Document 1-1 Filed 09/23/21 Page 6 of 8




        After approximately 1 minute and 20 seconds, the rioters pushed past the law enforcement
officers. As seen below, highlighted in red, ROMERO pushed forward with the rioters and then
turned to face other rioters breaking through the police line.




        Additional video shows that ROMERO then walked with other rioters inside the Capitol
Building. The screenshot below from approximately 3:01 p.m. shows ROMERO (circled in
yellow) wearing a black hoodie, fingerless gloves, and with a respirator around his neck, walking
south through a hallway on the House side of the Capitol Building.
         Case 1:21-mj-00612-GMH Document 1-1 Filed 09/23/21 Page 7 of 8




        Video footage also shows ROMERO using a cellphone, apparently to take photographs
and/or video while in the Capitol Building. Below is a screenshot from approximately 3:02 p.m.
showing ROMERO (circled in yellow), wearing the respirator and with the fingerless gloves
visible, using a cellphone.




       On or about August 23, 2021, the FBI showed the above two screenshots to Person-1.
Person-1 identified the individual in the screenshot as MOISES ROMERO.

        Law enforcement has obtained the Florida driver’s license photograph for MOISES
ROMERO and confirmed that the individual in the photograph appears to be the same person
identified by Person-1 as MOISES ROMERO.

       Based on the aforementioned evidence, there is probable cause to believe that MOISES
ROMERO was present inside the U.S. Capitol on January 6, 2021 during the riot and related
offenses that occurred at the U.S. Capitol Building on January 6, 2021 and participated in the
obstruction of the Congressional proceedings.

        Your affiant submits that there is also probable cause to believe that MOISES ROMERO
violated 18 U.S.C. § 1752(a)(1) and (2), which makes it a crime to (1) knowingly enter or remain
in any restricted building or grounds without lawful authority to do; and (2) knowingly, and with
intent to impede or disrupt the orderly conduct of Government business or official functions,
engage in disorderly or disruptive conduct in, or within such proximity to, any restricted building
or grounds when, or so that, such conduct, in fact, impedes or disrupts the orderly conduct of
Government business or official functions; or attempts or conspires to do so. For purposes of
Section 1752 of Title 18, a “restricted building” includes a posted, cordoned off, or otherwise
restricted area of a building or grounds where the President or other person protected by the Secret
Service, including the Vice President, is or will be temporarily visiting; or any building or grounds
so restricted in conjunction with an event designated as a special event of national significance.
         Case 1:21-mj-00612-GMH Document 1-1 Filed 09/23/21 Page 8 of 8




        Your affiant submits there is also probable cause to believe that MOISES ROMERO
violated 40 U.S.C. § 5104(e)(2)(D) and (G), which makes it a crime to willfully and knowingly
(D) utter loud, threatening, or abusive language, or engage in disorderly or disruptive conduct, at
any place in the Grounds or in any of the Capitol Buildings with the intent to impede, disrupt, or
disturb the orderly conduct of a session of Congress or either House of Congress, or the orderly
conduct in that building of a hearing before, or any deliberations of, a committee of Congress or
either House of Congress; and (G) parade, demonstrate, or picket in any of the Capitol Buildings.

        Finally, your affiant submits there is probable cause to believe that MOISES ROMERO
violated 18 U.S.C. § 231(a)(3), which makes it unlawful to commit or attempt to commit any act
to obstruct, impede, or interfere with any fireman or law enforcement officer lawfully engaged in
the lawful performance of his official duties incident to and during the commission of a civil
disorder which in any way or degree obstructs, delays, or adversely affects commerce or the
movement of any article or commodity in commerce or the conduct or performance of any
federally protected function. For purposes of Section 231 of Title 18, a federally protected function
means any function, operation, or action carried out, under the laws of the United States, by any
department, agency, or instrumentality of the United States or by an officer or employee thereof.
This includes the Joint Session of Congress where the Senate and House count Electoral College
votes.


                                                      _________________________________
                                                      Stephen May, Special Agent
                                                      Federal Bureau of Investigation


Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 23rd day of September 2021.
                                                                        Digitally signed by G.
                                                                        Michael Harvey
                                                                        Date: 2021.09.23
                                                                        10:36:42 -04'00'
                                                      ___________________________________
                                                      HONORABLE G. MICHAEL HARVEY
                                                      U.S. MAGISTRATE JUDGE
